Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Roystone on Queen Anne LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  606 Maynard Avenue S, Suite 251
                                  Seattle, WA 98104-2958
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Roystone Apartments
                                                                                                  5 W Roy Street Seattle, WA 98119
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 24-11462-CMA                   Doc 1       Filed 06/12/24            Ent. 06/12/24 12:13:58                Pg. 1 of 42
Debtor    Roystone on Queen Anne LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-11462-CMA                      Doc 1      Filed 06/12/24              Ent. 06/12/24 12:13:58                    Pg. 2 of 42
Debtor    Roystone on Queen Anne LLC                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-11462-CMA                            Doc 1      Filed 06/12/24            Ent. 06/12/24 12:13:58                   Pg. 3 of 42
Debtor   Roystone on Queen Anne LLC                                                Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-11462-CMA         Doc 1      Filed 06/12/24          Ent. 06/12/24 12:13:58            Pg. 4 of 42
Debtor    Roystone on Queen Anne LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 12, 2024
                                                  MM / DD / YYYY


                             X /s/ James H. Wong                                                          James H. Wong
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager of Vibrant Cities, LLC




18. Signature of attorney    X /s/ Richard B. Keeton                                                       Date June 12, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard B. Keeton
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-292-2110                  Email address      rkeeton@bskd.com

                                 WSBA 51537 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-11462-CMA                  Doc 1        Filed 06/12/24             Ent. 06/12/24 12:13:58                 Pg. 5 of 42
Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 6 of 42
Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 7 of 42
Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 8 of 42
Fill in this information to identify the case:

Debtor name         Roystone on Queen Anne LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 12, 2024                   X /s/ James H. Wong
                                                           Signature of individual signing on behalf of debtor

                                                            James H. Wong
                                                            Printed name

                                                            Manager of Vibrant Cities, LLC
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            Case 24-11462-CMA                    Doc 1        Filed 06/12/24             Ent. 06/12/24 12:13:58              Pg. 9 of 42
 Fill in this information to identify the case:
 Debtor name Roystone on Queen Anne LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Apartments LLC                                                                                                                                                    $1,689.00
 2563 Collection           dnega@costar.com
 Center Dr.
 Chicago, IL 60693
 B.E.E. Consulting,        Leanne Lettice                                                                                                                          $4,500.00
 LLC
 22903 66th Place          Leanne@bee-engin
 West                      eers.com
 Mountlake Terrace,
 WA 98043
 Comcast Business                                                                                                                                                      $79.83
 9602 S 300 W., Suite
 B
 Sandy, UT
 84070-3302
 Graffiti Busters LLC      info@graffitibuster                                                                                                                       $659.18
 4640 Union Bay            swashington
 Place NE
 Seattle, WA
 98105-4027
 Guardian Security                                                                                                                                                   $117.80
 Systems, Inc              customercare@gua
 1743 1st Avenue S.        rdiansecurity.com
 Seattle, WA
 98134-1403
 IPP Financial             Albert Lam Choong                                                                                                                   $627,123.29
 Advisers Pte Ltd          Fei
 78 Shenton Way
 #30-01                    albert@ippfa.com
 Singapore 079120
 Parker, Smith &           Elze Yankowski                                                                                                                          $1,890.00
 Feek Insurance
 2233 112th Avenue         ecyankowski@psfi
 NE                        nc.com
 Bellevue, WA 98004




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 24-11462-CMA              Doc 1         Filed 06/12/24             Ent. 06/12/24 12:13:58                         Pg. 10 of 42
 Debtor    Roystone on Queen Anne LLC                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Peak Insurance                                                                                                                                                        $23.26
 Advisors, LLC        Whitney.Chan@yar
 P.O. Box 209409      di.com
 Austin, TX
 78720-9280
 RentGrow, Inc.                                                                                                                                                        $48.00
 307 Waverley Oaks information@rentg
 Road                 row.com
 Suite 301
 Waltham, MA 02452
 Seattle Dep't of                                                                                                                                                $54,157.00
 Transp.              684-Road@seattle.
 Street Use Division gov
 PO Box 34996
 Seattle, WA
 98124-4996
 Seyfarth Shaw LLP Meghan Douris                                                                                                                                   $3,266.00
 999 Third Avenue,
 Suite 4700           mdouris@seyfarth.
 Seattle, WA          com
 98104-4041
 SparkClean                                                                                                                                                        $4,250.00
 Services LLC         info@sparkclean-s
 158 SW 148th Street, ervices.com
 #1156
 Burien, WA
 98166-1924
 Yardi Systems, Inc. Annette Biggs                                                                                                                                     $42.00
 430 S Fairview
 Avenue               annette.biggs@yar
 Santa Barbara, CA    di.com
 93117-3637
 YES Energy                                                                                                                                                          $402.50
 Management, Inc.     annette.biggs@yar
 430 S. Fairview      di.com
 Santa Barbara, CA
 93117




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 24-11462-CMA              Doc 1         Filed 06/12/24             Ent. 06/12/24 12:13:58                         Pg. 11 of 42
Fill in this information to identify the case:

Debtor name           Roystone on Queen Anne LLC

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $       39,056,543.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           376,583.57

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $       39,433,126.57


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       35,078,012.02


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           698,247.86


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $         35,776,259.88




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




             Case 24-11462-CMA                                      Doc 1              Filed 06/12/24                         Ent. 06/12/24 12:13:58                             Pg. 12 of 42
Fill in this information to identify the case:

Debtor name       Roystone on Queen Anne LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                                            $0.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number
                 First Interstate Bank
                 401 N 31st Street                                Business Checking
          3.1.   Billings, MT 59101-1200                          (loan servicing account)       6431                                  $107,193.45


                 JPMorgan Chase Bank, N.A.                        Business Premier
                 P.O. Box 182051                                  Savings (savings
          3.2.   Columbus, OH 43218-2051                          account)                       9629                                             $0.02


                 JPMorgan Chase Bank, N.A.                        Platinum Business
                 P.O. Box 182051                                  Checking (development
          3.3.   Columbus, OH 43218-2051                          account)                       9789                                       $600.45


                 East West Bank                                   Standard Business
                 2331 130th Ave. NE, Suite 104                    Checking (tenant
          3.4.   Bellevue, WA 98005                               deposit account)               4024                                    $60,643.00


                 East West Bank                                   Standard Business
                 2331 130th Ave. NE, Suite 104                    Checking (operating
          3.5.   Bellevue, WA 98005                               account)                       4685                                     $6,418.90



4.        Other cash equivalents (Identify all)


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 1



            Case 24-11462-CMA                     Doc 1    Filed 06/12/24       Ent. 06/12/24 12:13:58                Pg. 13 of 42
Debtor           Roystone on Queen Anne LLC                                               Case number (If known)
                 Name


5.        Total of Part 1.                                                                                                      $177,619.88
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Tenant Security Deposits                                                                                         $60,643.00


                   Bush Kornfeld LLP
                   601 Union Street, Suite 5000
                   Seattle, WA 98101

          7.2.     Balance of Retainer                                                                                            $117,898.84



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                      $178,541.84
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     20,421.85      -                                   0.00 = ....              $20,421.85
                                       face amount                          doubtful or uncollectible accounts
                                       Tenant Accounts Receivable


          11b. Over 90 days old:                           3,816.69    -                           3,816.69 =....                       $0.00
                                       face amount                          doubtful or uncollectible accounts
                                       Tenant Accounts Receivable

12.       Total of Part 3.                                                                                                       $20,421.85
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                   page 2



           Case 24-11462-CMA                    Doc 1         Filed 06/12/24          Ent. 06/12/24 12:13:58             Pg. 14 of 42
Debtor       Roystone on Queen Anne LLC                                                     Case number (If known)
             Name



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used      Current value of
                                                                         debtor's interest          for current value          debtor's interest
                                                                         (Where available)

39.       Office furniture
          Furnishings                                                                     $0.00                                           Unknown



40.       Office fixtures
          Light Fixtures                                                                  $0.00                                           Unknown



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Appliances                                                                      $0.00                                           Unknown


          Various Office Equipment                                                        $0.00                                           Unknown



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                    $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 3



           Case 24-11462-CMA                    Doc 1        Filed 06/12/24             Ent. 06/12/24 12:13:58              Pg. 15 of 42
Debtor        Roystone on Queen Anne LLC                                                  Case number (If known)
              Name



           Description and location of            Nature and            Net book value of             Valuation method used     Current value of
           property                               extent of             debtor's interest             for current value         debtor's interest
           Include street address or other        debtor's interest     (Where available)
           description such as Assessor           in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Real property and
                  improvements
                  thereon located at 5
                  W Roy Street, Seattle,
                  WA 98119, commonly
                  known as the
                  Roystone                                                                            Appraisal with
                  Apartments.                     Fee simple                              N/A         owner adjustments               $39,056,543.00




56.        Total of Part 9.                                                                                                         $39,056,543.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used      Current value of
                                                                        debtor's interest             for current value          debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Tenant list and mailing lists                                                $0.00                                               Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                   $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                               page 4



            Case 24-11462-CMA                    Doc 1           Filed 06/12/24       Ent. 06/12/24 12:13:58                  Pg. 16 of 42
Debtor        Roystone on Queen Anne LLC                                                   Case number (If known)
              Name


              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Potential legal claims and causes of action against 5
           Roy SEA1, LLC, Citymark Capital, and potential other
           parties arising from alleged breach of a Mutual
           Nondisclosure Agreement.                                                                                               Unknown
           Nature of claim          Breach of contract, unjust
                                    enrichment, etc.
           Amount requested                              TBD



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                         $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                  page 5



            Case 24-11462-CMA                      Doc 1         Filed 06/12/24       Ent. 06/12/24 12:13:58        Pg. 17 of 42
Debtor          Roystone on Queen Anne LLC                                                                          Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $177,619.88

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $178,541.84

82. Accounts receivable. Copy line 12, Part 3.                                                                     $20,421.85

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $39,056,543.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $376,583.57           + 91b.           $39,056,543.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $39,433,126.57




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6



              Case 24-11462-CMA                              Doc 1           Filed 06/12/24                    Ent. 06/12/24 12:13:58                 Pg. 18 of 42
Fill in this information to identify the case:

Debtor name         Roystone on Queen Anne LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   5 Roy SEA1, LLC                              Describe debtor's property that is subject to a lien             $30,348,092.20            $39,056,543.00
      Creditor's Name                              Real property and improvements thereon
                                                   located at 5 W Roy Street, Seattle, WA 98119,
      1375 E 9th Street, Suite                     commonly known as the Roystone
      2880                                         Apartments.
      Cleveland, OH 44114-1787
      Creditor's mailing address                   Describe the lien
                                                   Deed of Trust, Assignment of Rents, Security
                                                   Agreement and Fixture Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      1/27/2020                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. 5 Roy SEA1, LLC
      2. Equity Funding, LLC
      3. Pavilion Construction
      NW, LLC
      4. Elk Heights Excavation
      LLC
      5. All Wire Electric, Inc.
      6. Sunset Cement
      Finishing, Inc.
      7. Cadman, Inc.
      8. KB Glass and Metal
      9. KB Glass and Metal

2.2   All Wire Electric, Inc.                      Describe debtor's property that is subject to a lien                 $128,425.68           $39,056,543.00




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5




            Case 24-11462-CMA                         Doc 1          Filed 06/12/24                Ent. 06/12/24 12:13:58            Pg. 19 of 42
Debtor      Roystone on Queen Anne LLC                                                             Case number (if known)
            Name

      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
      600 SW 13th Street, Suite                   commonly known as the Roystone
      200                                         Apartments.
      Renton, WA 98057
      Creditor's mailing address                  Describe the lien
                                                  Construction/Materialmen's Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/14/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      Specified on line 2.1

2.3   Cadman, Inc.                                Describe debtor's property that is subject to a lien                       $19,293.50   $39,056,543.00
      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
      300 E John Carpenter,                       commonly known as the Roystone
      #1600                                       Apartments.
      Irving, TX 75062
      Creditor's mailing address                  Describe the lien
                                                  Construction/Materialmen's Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/13/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      Specified on line 2.1

      Elk Heights Excavation
2.4                                                                                                                         $104,091.87   $39,056,543.00
      LLC                                         Describe debtor's property that is subject to a lien
      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
      22710 SE Lake Francis                       commonly known as the Roystone
      Road                                        Apartments.
      Maple Valley, WA 98038
      Creditor's mailing address                  Describe the lien
                                                  Construction/Materialmen's Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 5




            Case 24-11462-CMA                        Doc 1          Filed 06/12/24                Ent. 06/12/24 12:13:58             Pg. 20 of 42
Debtor      Roystone on Queen Anne LLC                                                             Case number (if known)
            Name

      3/17/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      Specified on line 2.1

2.5   Equity Funding, LLC                         Describe debtor's property that is subject to a lien                  $3,500,000.00    $39,056,543.00
      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
      11245 SE 6th Street, Suite                  commonly known as the Roystone
      280                                         Apartments.
      Bellevue, WA 98004
      Creditor's mailing address                  Describe the lien
                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/22/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.6   KB Glass and Metal                          Describe debtor's property that is subject to a lien                      $15,612.20   $39,056,543.00
      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
                                                  commonly known as the Roystone
      PO Box 3431                                 Apartments.
      Redmond, WA 98073
      Creditor's mailing address                  Describe the lien
                                                  Construction/Materialmen's Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/10/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      Specified on line 2.1

2.7   KB Glass and Metal                          Describe debtor's property that is subject to a lien                      $79,071.25   $39,056,543.00


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 5




            Case 24-11462-CMA                        Doc 1          Filed 06/12/24                Ent. 06/12/24 12:13:58            Pg. 21 of 42
Debtor      Roystone on Queen Anne LLC                                                             Case number (if known)
            Name

      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
                                                  commonly known as the Roystone
      114 W Winesap Road                          Apartments.
      Bothell, WA 98012
      Creditor's mailing address                  Describe the lien
                                                  Construction/Materialmen's Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/05/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      Specified on line 2.1

      Pavilion Construction NW,
2.8                                                                                                                         $746,494.00   $39,056,543.00
      LLC                                         Describe debtor's property that is subject to a lien
      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
      15455 Hallmark Dr., Suite                   commonly known as the Roystone
      200                                         Apartments.
      Lake Oswego, OR 97204
      Creditor's mailing address                  Describe the lien
                                                  Construction/Materialmen's Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/17/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

      Sunset Cement Finishing,
2.9                                                                                                                         $136,931.32   $39,056,543.00
      Inc.                                        Describe debtor's property that is subject to a lien
      Creditor's Name                             Real property and improvements thereon
                                                  located at 5 W Roy Street, Seattle, WA 98119,
                                                  commonly known as the Roystone
      P.O. Box 1752                               Apartments.
      Sumner, WA 98390-0370
      Creditor's mailing address                  Describe the lien
                                                  Construction/Materialmen's Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 5




            Case 24-11462-CMA                        Doc 1          Filed 06/12/24                Ent. 06/12/24 12:13:58             Pg. 22 of 42
Debtor      Roystone on Queen Anne LLC                                                            Case number (if known)
            Name

      Date debt was incurred                        No
      9/21/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative
      priority.                                     Disputed
      Specified on line 2.1

                                                                                                                           $35,078,012.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      02

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       5 Roy SEA1, LLC
       c/o Foster Garvey P.C.                                                                              Line   2.1
       1111 Third Avenue, Suite 3000
       Seattle, WA 98101-3292




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 5




            Case 24-11462-CMA                       Doc 1          Filed 06/12/24                Ent. 06/12/24 12:13:58               Pg. 23 of 42
Fill in this information to identify the case:

Debtor name        Roystone on Queen Anne LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          City of Seattle Dep't of                            Check all that apply.
            Finance & Admin. Servs.                              Contingent
          700 5th Avenue, Suite 4250                             Unliquidated
          PO Box 34214                                           Disputed
          Seattle, WA 98124-4214
          Date or dates debt was incurred                     Basis for the claim:
                                                              B&O taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Internal Revenue Service                            Check all that apply.
          Centralized Insolvency Ops.                            Contingent
          P.O. Box 7346                                          Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Federal income taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 5
                                                                                                              27718



             Case 24-11462-CMA                       Doc 1         Filed 06/12/24                  Ent. 06/12/24 12:13:58                Pg. 24 of 42
Debtor       Roystone on Queen Anne LLC                                                                 Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                         $0.00   $0.00
          King County Treasury Ops.                            Check all that apply.
          King Street Center                                      Contingent
          201 S Jackson Street, #710                              Unliquidated
          Seattle, WA 98104                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Personal property taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                         $0.00   $0.00
          WA State Dep't of Revenue                            Check all that apply.
          Bankruptcy/Claims Unit                                  Contingent
          2101 Fourth Avenue, Suite 1400                          Unliquidated
          Seattle, WA 98121-2300                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               State B&O and sales and use taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,689.00
          Apartments LLC                                                         Contingent
          2563 Collection Center Dr.                                             Unliquidated
          Chicago, IL 60693                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,500.00
          B.E.E. Consulting, LLC                                                 Contingent
          22903 66th Place West                                                  Unliquidated
          Mountlake Terrace, WA 98043                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $79.83
          Comcast Business                                                       Contingent
          9602 S 300 W., Suite B                                                 Unliquidated
          Sandy, UT 84070-3302                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number 6609
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 5




             Case 24-11462-CMA                       Doc 1          Filed 06/12/24                  Ent. 06/12/24 12:13:58                         Pg. 25 of 42
Debtor      Roystone on Queen Anne LLC                                                      Case number (if known)
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $659.18
         Graffiti Busters LLC                                         Contingent
         4640 Union Bay Place NE                                      Unliquidated
         Seattle, WA 98105-4027                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $117.80
         Guardian Security Systems, Inc                               Contingent
         1743 1st Avenue S.                                           Unliquidated
         Seattle, WA 98134-1403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $627,123.29
         IPP Financial Advisers Pte Ltd                               Contingent
         78 Shenton Way #30-01                                        Unliquidated
         Singapore 079120                                             Disputed
         Date(s) debt was incurred 11/12/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,890.00
         Parker, Smith & Feek Insurance                               Contingent
         2233 112th Avenue NE                                         Unliquidated
         Bellevue, WA 98004                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $23.26
         Peak Insurance Advisors, LLC                                 Contingent
         P.O. Box 209409                                              Unliquidated
         Austin, TX 78720-9280                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                     $0.00
         Puget Sound Energy, Inc.                                     Contingent
         355 110th Avenue NE #EST-11                                  Unliquidated
         Bellevue, WA 98004-5862                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0880
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $48.00
         RentGrow, Inc.                                               Contingent
         307 Waverley Oaks Road                                       Unliquidated
         Suite 301                                                    Disputed
         Waltham, MA 02452
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 5




            Case 24-11462-CMA                   Doc 1       Filed 06/12/24               Ent. 06/12/24 12:13:58                          Pg. 26 of 42
Debtor       Roystone on Queen Anne LLC                                                             Case number (if known)
             Name

3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          Seattle City Light                                                   Contingent
          P.O. Box 34023                                                       Unliquidated
          Seattle, WA 98124-4023                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 7800
                                                                           Is the claim subject to offset?     No       Yes

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $54,157.00
          Seattle Dep't of Transp.                                             Contingent
          Street Use Division                                                  Unliquidated
          PO Box 34996                                                         Disputed
          Seattle, WA 98124-4996
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          Seattle Public Utilities                                             Contingent
          P.O. Box 34018                                                       Unliquidated
          Seattle, WA 98124-5177                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 0414
                                                                           Is the claim subject to offset?     No       Yes

3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,266.00
          Seyfarth Shaw LLP                                                    Contingent
          999 Third Avenue, Suite 4700                                         Unliquidated
          Seattle, WA 98104-4041                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,250.00
          SparkClean Services LLC                                              Contingent
          158 SW 148th Street, #1156                                           Unliquidated
          Burien, WA 98166-1924                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $42.00
          Yardi Systems, Inc.                                                  Contingent
          430 S Fairview Avenue                                                Unliquidated
          Santa Barbara, CA 93117-3637                                         Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $402.50
          YES Energy Management, Inc.                                          Contingent
          430 S. Fairview                                                      Unliquidated
          Santa Barbara, CA 93117                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5




             Case 24-11462-CMA                       Doc 1         Filed 06/12/24                Ent. 06/12/24 12:13:58                          Pg. 27 of 42
Debtor      Roystone on Queen Anne LLC                                                          Case number (if known)
            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                related creditor (if any) listed?              account number, if
                                                                                                                                               any
4.1       B.E.E. Consulting, LLC
          170 W. Dayton St., Suite 206                                                          Line     3.2
          Edmonds, WA 98020
                                                                                                       Not listed. Explain

4.2       Comcast Cable Commc'ns Mgmt.
          One Comcast Center                                                                    Line     3.3
          Attn: Legal
                                                                                                       Not listed. Explain
          1701 JFK Blvd.
          Philadelphia, PA 19103

4.3       Parker, Smith & Feek Insurance
          430 E Douglas Ave., Suite 400                                                         Line     3.7
          Wichita, KS 67202-3409
                                                                                                       Not listed. Explain

4.4       Puget Sound Energy, Inc.
          P.O. Box 91269                                                                        Line     3.9
          Bellevue, WA 98009-9269
                                                                                                       Not listed. Explain

4.5       RentGrow, Inc.
          P.O. Box 847851                                                                       Line     3.10
          Boston, MA 02284-7851
                                                                                                       Not listed. Explain

4.6       Seattle City Light
          PO Box 35178                                                                          Line     3.11
          Seattle, WA 98124-5178
                                                                                                       Not listed. Explain

4.7       Seattle Public Utilities
          P.O. Box 35177                                                                        Line     3.13
          Seattle, WA 98124-5177
                                                                                                       Not listed. Explain

4.8       Seyfarth Shaw LLP
          233 S Wacker Dr., Suite 8000                                                          Line     3.14
          Chicago, IL 60606-6448
                                                                                                       Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
5a. Total claims from Part 1                                                                       5a.          $                          0.00
5b. Total claims from Part 2                                                                       5b.    +     $                    698,247.86

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.          $                      698,247.86




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5




            Case 24-11462-CMA                      Doc 1         Filed 06/12/24              Ent. 06/12/24 12:13:58                       Pg. 28 of 42
Fill in this information to identify the case:

Debtor name       Roystone on Queen Anne LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Multifamily Housing
           lease is for and the nature of        Limited Property Tax
           the debtor's interest                 Exemption Agreement

               State the term remaining          Indefinite                         City of Seattle
                                                                                    Office of Housing
           List the contract number of any                                          700 Fifth Avenue, Suite 5700
                 government contract                                                Seattle, WA 98124-4725


2.2.       State what the contract or            Commercial Lease
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          12/31/2029                         Jennifer Dawn Singer
                                                                                    The Uncommon Cottage
           List the contract number of any                                          5 West Roy Street
                 government contract                                                Seattle, WA 98119


2.3.       State what the contract or            Property Management
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          2/01/2025
                                                                                    Ori Residential, Inc.
           List the contract number of any                                          601 Union Street, Suite 1730
                 government contract                                                Seattle, WA 98101-2196


2.4.       State what the contract or            Public Place Indemnity
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          Indefinite                         Seattle Dep't of Transp.
                                                                                    Street Use Division
           List the contract number of any                                          PO Box 34996
                 government contract                                                Seattle, WA 98124-4996




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2




           Case 24-11462-CMA                     Doc 1        Filed 06/12/24            Ent. 06/12/24 12:13:58                  Pg. 29 of 42
Debtor 1 Roystone on Queen Anne LLC                                              Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Commercial Lease
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       6/17/2028
                                                                        Seayou Corporation
          List the contract number of any                               21003 66th Avenue S.
                government contract                                     Kent, WA 98032


2.6.      State what the contract or        Various Tenant
          lease is for and the nature of    Apartment Leases
          the debtor's interest

             State the term remaining       Varying remaining
                                            terms
          List the contract number of any                               Various Tenant Aptmnt. Leases
                government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2




          Case 24-11462-CMA                 Doc 1       Filed 06/12/24      Ent. 06/12/24 12:13:58         Pg. 30 of 42
Fill in this information to identify the case:

Debtor name      Roystone on Queen Anne LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    James Wong                  19 Crescent Ky                                            5 Roy SEA1, LLC                    D   2.1
                                      Bellevue, WA 98006                                                                           E/F
                                      Guarantor
                                                                                                                                   G




   2.2    James Wong                  19 Crescent Ky                                            Equity Funding, LLC                D   2.5
                                      Bellevue, WA 98006                                                                           E/F
                                      Guarantor
                                                                                                                                   G




   2.3    Pavilion                    15455 Hallmark Dr., Suite 200                             KB Glass and Metal                 D   2.6
          Construction                Lake Oswego, OR 97035                                                                        E/F
          NW, LLC                     Construction/Materialmen's Lien
                                                                                                                                   G




   2.4    Pavilion                    1930 6th Ave. S, Suite 101                                KB Glass and Metal                 D   2.7
          Construction                Seattle, WA 98134                                                                            E/F
          NW, LLC                     Construction/Materialmen's Lien
                                                                                                                                   G




   2.5    Pavilion                    15455 Hallmark Dr., Suite 200                             Sunset Cement                      D   2.9
          Construction                Lake Oswego, OR 97035                                     Finishing, Inc.                    E/F
          NW, LLC                     Construction/Materialmen's Lien
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2



          Case 24-11462-CMA                      Doc 1     Filed 06/12/24           Ent. 06/12/24 12:13:58                 Pg. 31 of 42
Debtor    Roystone on Queen Anne LLC                                              Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Pavilion                 15455 Hallmark Dr., Suite 200                       All Wire Electric, Inc.            D   2.2
          Construction             Lake Oswego, OR 97035                                                                  E/F
          NW, LLC                  Construction/Materialmen's Lien
                                                                                                                          G




  2.7     Sunset Cement            P.O. Box 1752                                       Cadman, Inc.                       D   2.3
          Finishing, Inc.          Sumner, WA 98390-0370                                                                  E/F
                                   Construction/Materialmen's Lien
                                                                                                                          G




  2.8     Jennifer Dawn            372 Aloha Street                                    Jennifer Dawn Singer               D
          Singer                   Seattle, WA 98109                                                                      E/F
                                                                                                                          G   2.2




  2.9     Weibin Li                16039 SE 144th Street                               SeaYou Corporation                 D
                                   Renton, WA 98059                                                                       E/F
                                                                                                                          G   2.5




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2



          Case 24-11462-CMA               Doc 1       Filed 06/12/24         Ent. 06/12/24 12:13:58              Pg. 32 of 42
                                                      United States Bankruptcy Court
                                                           Western District of Washington
 In re    Roystone on Queen Anne LLC                                                                              Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
ELV US III, LLC                                             Member                50%                                        Membership Interest
2800 Post Oak Blvd.
Suite 4100
Houston, TX 77056

Vibrant Cities, LLC                                         Member                50%                                        Membership Interest
606 Maynard Ave. S, Suite 251
Seattle, WA 98104-2958


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of Vibrant Cities, LLC of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date June 12, 2024                                                       Signature /s/ James H. Wong
                                                                                        James H. Wong

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




           Case 24-11462-CMA                     Doc 1         Filed 06/12/24               Ent. 06/12/24 12:13:58                    Pg. 33 of 42
                                              United States Bankruptcy Court
                                                  Western District of Washington
 In re   Roystone on Queen Anne LLC                                                            Case No.
                                                                   Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Manager of Vibrant Cities, LLC of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




Date:    June 12, 2024                                 /s/ James H. Wong
                                                       James H. Wong/Manager of Vibrant Cities, LLC
                                                       Signer/Title




          Case 24-11462-CMA               Doc 1      Filed 06/12/24            Ent. 06/12/24 12:13:58            Pg. 34 of 42
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        US ATTORNEY
                        ATTN BANKRUPTCY ASSISTANT
                        700 STEWART ST #5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44171
                        OLYMPIA, WA 98504-4171


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046


                        WA ATTORNEY GENERAL
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 5TH AVE #2000
                        SEATTLE, WA 98104


                        RICHARD B. KEETON
                        BUSH KORNFELD LLP
                        601 UNION ST., SUITE 5000
                        SEATTLE, WA 98101-2373


                        ROYSTONE ON QUEEN ANNE LLC
                        606 MAYNARD AVENUE S, SUITE 251
                        SEATTLE, WA 98104-2958




    Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 35 of 42
                    UNITED STATES OF AMERICA
                    INTERNAL REVENUE SERVICE
                    915 SECOND AVE.
                    SEATTLE, WA 98174


                    ATTORNEY GENERAL OF THE
                     UNITED STATES
                    US DEPARTMENT OF JUSTICE
                    950 PENNSYLVANIA AVE. NW
                    WASHINGTON, DC 20530-0001


                    U.S. SMALL BUSINESS ADMIN.
                    510 L STREET
                    ROOM 310
                    ANCHORAGE, AK 99501


                    U.S. SMALL BUSINESS ADMIN
                    LEGAL DEPT.
                    2401 FOURTH AVE. #400
                    SEATTLE, WA 98121


                    5 ROY SEA1, LLC
                    1375 E 9TH STREET, SUITE 2880
                    CLEVELAND, OH 44114-1787


                    5 ROY SEA1, LLC
                    C/O FOSTER GARVEY P.C.
                    1111 THIRD AVENUE, SUITE 3000
                    SEATTLE, WA 98101-3292


                    ALL WIRE ELECTRIC, INC.
                    600 SW 13TH STREET, SUITE 200
                    RENTON, WA 98057


                    APARTMENTS LLC
                    2563 COLLECTION CENTER DR.
                    CHICAGO, IL 60693


                    B.E.E. CONSULTING, LLC
                    22903 66TH PLACE WEST
                    MOUNTLAKE TERRACE, WA 98043


                    B.E.E. CONSULTING, LLC
                    170 W. DAYTON ST., SUITE 206
                    EDMONDS, WA 98020



Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 36 of 42
                    CADMAN, INC.
                    300 E JOHN CARPENTER, #1600
                    IRVING, TX 75062


                    CINCINNATI INSURANCE COMPANY
                    P.O. BOX 145496
                    CINCINNATI, OH 45250-5496


                    CITY OF SEATTLE
                    OFFICE OF HOUSING
                    700 FIFTH AVENUE, SUITE 5700
                    SEATTLE, WA 98124-4725


                    CITY OF SEATTLE DEP'T OF
                      FINANCE & ADMIN. SERVS.
                    700 5TH AVENUE, SUITE 4250
                    PO BOX 34214
                    SEATTLE, WA 98124-4214


                    COMCAST BUSINESS
                    9602 S 300 W., SUITE B
                    SANDY, UT 84070-3302


                    COMCAST CABLE COMMC'NS MGMT.
                    ONE COMCAST CENTER
                    ATTN: LEGAL
                    1701 JFK BLVD.
                    PHILADELPHIA, PA 19103


                    EAST WEST BANK
                    2331 130TH AVE. NE, SUITE 104
                    BELLEVUE, WA 98005


                    EAST WEST BANK
                    135 N LOS ROBLES AVE., FLOOR 7
                    PASADENA, CA 91101-4525


                    ELK HEIGHTS EXCAVATION LLC
                    22710 SE LAKE FRANCIS ROAD
                    MAPLE VALLEY, WA 98038


                    EQUITY FUNDING, LLC
                    11245 SE 6TH STREET, SUITE 280
                    BELLEVUE, WA 98004




Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 37 of 42
                    FIRST INTERSTATE BANK
                    401 N 31ST STREET
                    BILLINGS, MT 59101-1200


                    FIRST INTERSTATE BANK
                    P.O. BOX 241826
                    OMAHA, NE 68124


                    GRAFFITI BUSTERS LLC
                    4640 UNION BAY PLACE NE
                    SEATTLE, WA 98105-4027


                    GUARDIAN SECURITY SYSTEMS, INC
                    1743 1ST AVENUE S.
                    SEATTLE, WA 98134-1403


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPS.
                    P.O. BOX 7346
                    PHILADELPHIA, PA 19101-7346


                    JAMES WONG
                    19 CRESCENT KY
                    BELLEVUE, WA 98006


                    JENNIFER DAWN SINGER
                    THE UNCOMMON COTTAGE
                    5 WEST ROY STREET
                    SEATTLE, WA 98119


                    JENNIFER DAWN SINGER
                    372 ALOHA STREET
                    SEATTLE, WA 98109


                    JPMORGAN CHASE BANK, N.A.
                    P.O. BOX 182051
                    COLUMBUS, OH 43218-2051


                    JPMORGAN CHASE BANK, N.A.
                    383 MADISON AVENUE
                    NEW YORK, NY 10179


                    KB GLASS AND METAL
                    PO BOX 3431
                    REDMOND, WA 98073


Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 38 of 42
                    KB GLASS AND METAL
                    114 W WINESAP ROAD
                    BOTHELL, WA 98012


                    KING COUNTY TREASURY OPS.
                    KING STREET CENTER
                    201 S JACKSON STREET, #710
                    SEATTLE, WA 98104


                    ORI RESIDENTIAL, INC.
                    601 UNION STREET, SUITE 1730
                    SEATTLE, WA 98101-2196


                    PARKER, SMITH & FEEK INSURANCE
                    2233 112TH AVENUE NE
                    BELLEVUE, WA 98004


                    PARKER, SMITH & FEEK INSURANCE
                    430 E DOUGLAS AVE., SUITE 400
                    WICHITA, KS 67202-3409


                    PAVILION CONSTRUCTION NW, LLC
                    15455 HALLMARK DR., SUITE 200
                    LAKE OSWEGO, OR 97204


                    PAVILION CONSTRUCTION NW, LLC
                    15455 HALLMARK DR., SUITE 200
                    LAKE OSWEGO, OR 97035


                    PAVILION CONSTRUCTION NW, LLC
                    1930 6TH AVE. S, SUITE 101
                    SEATTLE, WA 98134


                    PEAK INSURANCE ADVISORS, LLC
                    P.O. BOX 209409
                    AUSTIN, TX 78720-9280


                    PROPEL INSURANCE
                    1201 PACIFIC AVE., SUITE 1000
                    TACOMA, WA 98402-4321


                    PUGET SOUND ENERGY, INC.
                    355 110TH AVENUE NE #EST-11
                    BELLEVUE, WA 98004-5862



Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 39 of 42
                    PUGET SOUND ENERGY, INC.
                    P.O. BOX 91269
                    BELLEVUE, WA 98009-9269


                    RENTGROW, INC.
                    307 WAVERLEY OAKS ROAD
                    SUITE 301
                    WALTHAM, MA 02452


                    RENTGROW, INC.
                    P.O. BOX 847851
                    BOSTON, MA 02284-7851


                    SEATTLE CITY LIGHT
                    P.O. BOX 34023
                    SEATTLE, WA 98124-4023


                    SEATTLE CITY LIGHT
                    PO BOX 35178
                    SEATTLE, WA 98124-5178


                    SEATTLE DEP'T OF TRANSP.
                    STREET USE DIVISION
                    PO BOX 34996
                    SEATTLE, WA 98124-4996


                    SEATTLE PUBLIC UTILITIES
                    P.O. BOX 34018
                    SEATTLE, WA 98124-5177


                    SEATTLE PUBLIC UTILITIES
                    P.O. BOX 35177
                    SEATTLE, WA 98124-5177


                    SEAYOU CORPORATION
                    21003 66TH AVENUE S.
                    KENT, WA 98032


                    SECURITIES & EXCHANGE COMM'N
                    OFFICE OF REORGANIZATION
                    444 S FLOWER STREET, SUITE 900
                    LOS ANGELES, CA 90071




Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 40 of 42
                    SEYFARTH SHAW LLP
                    999 THIRD AVENUE, SUITE 4700
                    SEATTLE, WA 98104-4041


                    SEYFARTH SHAW LLP
                    233 S WACKER DR., SUITE 8000
                    CHICAGO, IL 60606-6448


                    SPARKCLEAN SERVICES LLC
                    158 SW 148TH STREET, #1156
                    BURIEN, WA 98166-1924


                    SUNSET CEMENT FINISHING, INC.
                    P.O. BOX 1752
                    SUMNER, WA 98390-0370


                    WA STATE DEP'T OF REVENUE
                    BANKRUPTCY/CLAIMS UNIT
                    2101 FOURTH AVENUE, SUITE 1400
                    SEATTLE, WA 98121-2300


                    WEIBIN LI
                    16039 SE 144TH STREET
                    RENTON, WA 98059


                    YARDI SYSTEMS, INC.
                    430 S FAIRVIEW AVENUE
                    SANTA BARBARA, CA 93117-3637


                    YES ENERGY MANAGEMENT, INC.
                    430 S. FAIRVIEW
                    SANTA BARBARA, CA 93117




Case 24-11462-CMA   Doc 1   Filed 06/12/24   Ent. 06/12/24 12:13:58   Pg. 41 of 42
                                          United States Bankruptcy Court
                                              Western District of Washington
 In re   Roystone on Queen Anne LLC                                                    Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Roystone on Queen Anne LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
ELV US III, LLC
2800 Post Oak Blvd.
Suite 4100
Houston, TX 77056
Vibrant Cities, LLC
606 Maynard Ave. S, Suite 251
Seattle, WA 98104-2958




  None [Check if applicable]




June 12, 2024                                    /s/ Richard B. Keeton
Date                                             Richard B. Keeton
                                                 Signature of Attorney or Litigant
                                                 Counsel for Roystone on Queen Anne LLC
                                                 Bush Kornfeld LLP
                                                 601 Union St., Suite 5000
                                                 Seattle, WA 98101-2373
                                                 206-292-2110 Fax:206-292-2104
                                                 rkeeton@bskd.com




         Case 24-11462-CMA            Doc 1      Filed 06/12/24           Ent. 06/12/24 12:13:58        Pg. 42 of 42
